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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:07CR99
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
EDGAR CABRERA,                                    )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion for an extension of time by defendant
Edgar Cabrera (Cabrera) (Filing No. 28). Cabrera seeks an additional thirty days in which
to file pretrial motions in accordance with the progression order (Filing No. 6). Cabrera has
filed an affidavit wherein he consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act (Filing No.
28-Ex. 1). Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Cabrera's motion for an extension of time (Filing No. 28) is granted.
Cabrera is given until on or before July16, 2007, in which to file pretrial motions pursuant
to the progression order. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between June 15, 2007
and July16, 2007, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 15th day of June, 2007.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
